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1    McGLINCHEY STAFFORD
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4    Email:        bpaino@mcglinchey.com
5    Attorneys for Defendant loanDepot.com, LLC
6
                                  UNITED STATES DISTRICT COURT
7
                                  FOR THE DISTRICT OF ARIZONA
8
9
     Jonathan Smith, on behalf of himself and others Case No.: 2:22-cv-01674-GMS
10   similarly situated,
11                   Plaintiff,                        DEFENDANT LOANDEPOT.COM,
                                                       LLC’S NOTICE OF MOTION AND
12     v.                                              MOTION TO BIFURCATE
                                                       DISCOVERY; MEMORANDUM OF
13   loanDepot, Inc.,                                  POINTS AND AUTHORITIES
14                   Defendant.
15
16
17           TO ALL INTERESTED PARTIES:
18           PLEASE TAKE NOTICE that defendant loanDepot.com, LLC (“loanDepot”),
19   incorrectly sued as loanDepot, Inc., will, and hereby does, move the Court to bifurcate
20   discovery in this action pursuant to Federal Rules of Civil Procedure 42 and 26.
21           As set forth more fully in the accompanying Memorandum of Points and Authorities
22   (the “Memorandum”), good cause exists to bifurcate discovery in this action as the bifurcation
23   of discovery will permit deferral of costly and possibly unnecessary discovery proceedings
24   pending resolution of dispositive preliminary issues related to plaintiff Jonathan Smith’s
25   (“Plaintiff”) Complaint (the “Complaint” or “Compl.”).
26           This motion is based on the attached Memorandum, the pleadings and papers on file
27   herein, and upon such oral and documentary evidence as may be presented by the parties at
28   the hearing.
                                                   1                Case No. 2:22-cv-01674-GMS
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1
      DATED: December 23, 2022                   McGLINCHEY STAFFORD
2
3                                                By: /s/ Brian A. Paino
                                                     BRIAN A. PAINO
4                                                Attorneys for Defendant loanDepot.com, LLC
5
6                                CERTIFICATE OF CONFERENCE
7            Pursuant to L.R. 7-2, this Motion is made following the conference of counsel, which
8    took place on December 9, 2022.
9
      DATED: December 23, 2022                   McGLINCHEY STAFFORD
10
11                                               By: /s/ Brian A. Paino
                                                     BRIAN A. PAINO
12                                               Attorneys for Defendant loanDepot.com, LLC
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                                                   2                Case No. 2:22-cv-01674-GMS
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1                      MEMORANDUM OF POINTS AND AUTHORITIES
2    I.      INTRODUCTION
3            Through this action, Plaintiff, as a putative class representative, seeks recourse for
4    purported violations of the Telephone Consumer Protection Act, 47 U.S.C. §§ 227, et seq.
5    (the “TCPA”). As detailed more fully in loanDepot’s separately filed motion to dismiss (the
6    “Motion to Dismiss”), Plaintiff’s Complaint fails to state a valid and plausible claim for
7    aggregated statutory damages under the TCPA as it contains insufficient facts to establish
8    that aggregated damages are appropriate under the factors set forth in Six (6) Mexican
9    Workers v. Arizona Citrus Growers, 904 F.2d 1301 (9th Cir. 1990), which the Ninth Circuit
10   has adopted for evaluating the constitutionality of aggregated statutory damages.
11   Consequently, Plaintiff’s class claims necessarily fail.
12           Given the deficiencies with Plaintiff’s class claims, loanDepot respectfully requests
13   that discovery in this matter be phased. In the first phase, discovery would be limited to the
14   narrow issue of whether Plaintiff has a valid individual claim against loanDepot. If necessary,
15   the second phase of discovery would be focused on broader issues of commonality ahead of
16   a potential certification effort. A final phase – again, should it be necessary – would permit
17   the individual merits of each member of a certified class to be explored.
18           Good cause exists to phase discovery in this manner because doing so would allow the
19   Court to first resolve the merits of Plaintiff’s individual claims and avoid burdensome class
20   discovery if Plaintiff’s claims prove meritless. Additionally, phasing class certification
21   discovery from class merits discovery is critically important in TCPA cases where plaintiffs
22   commonly (and improperly and needlessly) seek the precertification production of massive
23   swaths of private consumer information on individuals who are not class members. Such
24   productions impose a huge expense on TCPA defendants and also pose a clear and present
25   danger to consumers who unknowingly have their private data released without notice. See
26   generally Bell Atl. Corp. v. Twombly, 550 U.S. 544, 558- 59 (2006) (emphasizing the expense
27   and burden of discovery in class actions and stressing that neither “careful case management,”
28   nor “careful scrutiny of the evidence at the summary judgment stage,” will protect defendants
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1    from incurring enormous discovery costs).
2            These concerns are particularly stark here because Plaintiff’s class claims already fails
3    and he has attempted to define a deficient class that cannot be certified. There is good reason
4    to believe, therefore, that this case will never get past the first phase (i.e., that Plaintiff will
5    never be able to state and prove a meritorious, individual claim against loanDepot). Allowing
6    the case to proceed to non-phased class merits discovery would otherwise result in the
7    intrusion of privacy of potentially thousands of consumers who have not asserted any claim
8    against loanDepot and have never received an improper call. Accordingly, loanDepot submits
9    that good cause exists to phase discovery, which will avoid burdensome class discovery if
10   Plaintiff’s claims prove meritless.
11   II.     LEGAL STANDARD
12           Federal Rule of Civil Procedure 42(b) gives a court broad discretion to bifurcate
13   proceedings “[f]or convenience, to avoid prejudice, or to expedite and economize.” Fed. R.
14   Civ. P. 42(b); see also Hangarter v. Provident Life & Acc. Ins. Co., 373 F.3d 998, 1021 (9th
15   Cir. 2004). “It is implicit that the court also ha[s] [the] power to limit discovery to the
16   segregated issues.” Ellingson Timber Co. v. Great N. Ry. Co., 424 F.2d 497, 499 (9th Cir.
17   1970) (citations omitted). “One of the purposes of Rule 42(b) is to permit deferral of costly
18   and possibly unnecessary discovery proceedings pending resolution of potentially dispositive
19   preliminary issues.” Id. (citations omitted); see also Zivkovic v. S. Cal. Edison Co., 302 F.3d
20   1080, 1088 (9th Cir. 2002) (“Rule 42(b) of the Federal Rules of Civil Procedure confers broad
21   discretion upon the district court to bifurcate a trial, thereby deferring costly and possibly
22   unnecessary proceedings pending resolution of potentially dispositive preliminary issues.”)
23   (citation omitted). Factors a court may consider in determining whether to bifurcate discovery
24   include the “‘complexity of the issues, factual proof, risk of jury confusion, difference
25   between the separated issues, and the chance that separation will lead to economy in
26   discovery.’” Moreno v. NBCUniversal Media, LLC, 2013 WL 12123988, at *2 (C.D. Cal.
27   Sept. 30, 2013) (quoting Calmar, Inc. v. Emson Research, Inc., 850 F. Supp. 861, 866 (C.D.
28   Cal. 1994)). The party seeking bifurcation bears the burden of establishing that “bifurcation
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1    will promote judicial economy or avoid inconvenience or prejudice to the parties.” Karpenski
2    v. Am. Gen. Life Cos., 916 F. Supp. 2d 1188, 1190 (W.D. Wash. 2012).
3              Rule 26 of the Federal Rules of Civil Procedure also affords trial courts ample
4    authority to control the sequence and timing of discovery. See EEOC v. Lawler Foods Inc.,
5    128 F. Supp. 3d 972, 974 (S.D. Tex. 2015). “‘[W]hen one issue may be determinative of a
6    case, the court has discretion to stay discovery on other issues until the critical issue has been
7    decided.’ This principle of judicial parsimony is often invoked, for example, to justify
8    postponing discovery on damages until liability has been established.” Id. (quoting 8A Wright
9    and Miller, Federal Practice and Procedure § 2040 (3d ed. 2010)).
10   III.      ARGUMENT
11             A.     Phasing Individual Merits Discovery Will Serve the Interests of Judicial
12                    Economy Because If Plaintiff’s Claims Fail, Then Far More Resource-
                      Intensive Discovery On The Merits Of The Proposed Class Claims Can Be
13                    Avoided.
14             Phasing individual merits discovery is in the best interests of the Court and the parties,
15   as it serves judicial economy in potentially resolving an unmeritorious class action at the
16   individual stage. Thus, district courts properly exercise their discretion to phase discovery
17   when a threshold issue might be dispositive of the plaintiff’s claims such that limiting
18   discovery to that issue would conserve the parties’ and the court’s resources. See Drennan v.
19   Md. Cas. Co., 366 F. Supp. 2d 1002, 1007 (D. Nev. 2005) (“[b]ifurcation is particularly
20   appropriate when resolution of a single claim or issue could be dispositive of the entire case”);
21   Karpenski v. Am. Gen. Life Companies, LLC, 916 F. Supp. 2d 1188, 1190 (W.D. Wash. 2012)
22   (granting motion to bifurcate where resolution of claim will be “dispositive of the entire
23   case”).
24             Moreover, if the initial phase of discovery demonstrates that Plaintiff’s claims fail or
25   that Plaintiff is otherwise not an adequate class representative, then the far more resource-
26   intensive discovery on the merits of the purported class claims can be avoided. In Katz v.
27   Liberty Power Corp., LLC, 2019 WL 957129 (D. Mass. 2019), for example, the court
28   bifurcated individual merits and class discovery because “the need for class discovery may
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1    be eliminated if [defendant] is able to demonstrate that all of the named Plaintiffs lack viable
2    individual claims.” Id., at *2. “Further, class discovery is not necessary to address certain
3    issues that may be dispositive of [a plaintiff’s] individual claims or ability to bring the
4    asserted class claims...” Id.; see also, e.g., DeLeon v. Time Warner Cable LLC, 2009 WL
5    10674767, at *1 (C.D. Cal. 2009) (“The Court has authority to bifurcate this case so that
6    discovery and dispositive motions on Plaintiff’s individual claims take place before
7    submerging the parties in an ocean of class discovery.”); Gottlieb v. Amica Mut. Ins. Co.,
8    2021 WL 1839602, at *3 (D. Mass. 2021) (granting request to bifurcate and delay class
9    discovery pending resolution of defendant’s motion for summary judgment); Physicians
10   Healthsource, Inc. v. Janssen Pharms., Inc., 2014 WL 413534, at *5-6 (D.N.J. 2014)
11   (granting defendant’s bifurcation request and discussing the efficiencies of bifurcation in a
12   putative class action); Am.’s Health & Res. Ctr., Ltd. v. Promologics, Inc., 2018 WL 3474444,
13   at *6 (N.D. Ill. 2018) (bifurcating discovery “where some limited, first-stage production
14   could shave off substantial wasted efforts” on purported class claims and “perhaps. . . entirely
15   forego class-wide discovery, saving resources and expense on all sides”).
16           Phasing discovery would allow for the resolution of the threshold issue of whether
17   Plaintiff himself has a viable claim under the TCPA. Absent the phasing of discovery,
18   loanDepot will be prejudiced as it would be forced to engage in unnecessary discovery that
19   will likely turn out to be a waste of time, money, and resources when Plaintiff’s claims are
20   inevitably dismissed as meritless. Under this scenario, Plaintiff will have succeeded in
21   engaging loanDepot and this Court in burdensome class discovery when his underlying
22   individual allegations are without merit. By contrast, phasing discovery would ensure that
23   neither this Court nor the parties expend unnecessary time or resources on a claim that has
24   no grounds to proceed on an individual, much less a class action, basis.
25           As set forth more fully in loanDepot’s Motion to Strike, Plaintiff’s proposed class is
26   otherwise facially uncertifiable. The class includes individuals who are subscribers to phones
27   used by third parties who may have authorized the calls. And while the class excludes persons
28   who submitted or authorized the submission of numbers to loanDepot, this exclusion is too
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1    narrow to account for individuals who allow individuals on their phon plans to use the
2    numbers in a blanket fashion. Lastly, the class is uncertifiable because it is an improper
3    failsafe. Commencing class discovery before this facially uncertifiable class is narrowed (or
4    even eliminated) would be an altogether unproductive and pointless exercise. loanDepot
5    therefore requests that discovery be phased, and the merits of Plaintiff’s individual claims be
6    resolved first, to allow the Court time to rule on loanDepot’s pending motions and to allow
7    the parties to resolve the merits of Plaintiff’s individual claims before engaging the parties
8    and this Court in unnecessary class discovery.
9            B.     If Plaintiff’s Individual Claims Proceed, The Court Should Phase Class
10                  Certification Discovery from Class Merits Discovery Because It Would
                    Permit the Court to Make an Early Determination on the Propriety of
11                  Class Certification.
12           In the unlikely event that Plaintiff’s individual claim proceeds, loanDepot respectfully
13   requests that this Court further phase class certification discovery from class merits discovery,
14   such that class merits discovery only occurs if a class is certified (which it cannot be in this
15   case). Courts regularly phase class certification and merits discovery in similar cases,
16   recognizing that “class certification discovery should be straightforward and distinguishable
17   from merits discovery.” Horton v. Sw. Med. Consulting, LLC, 2017 WL 5075928, at *1 (N.D.
18   Okla. 2017); see also Nazario v. Sharinn & Lipshie, P.C., 2020 WL 205896, at *1 (D.N.J.
19   2020) (“Courts generally postpone class-wide discovery on the merits of the claims when
20   bifurcation serves the interests of fairness and efficiency.”) (citation and internal quotations
21   omitted); Medlock v. Taco Bell Corp., 2014 WL 2154437, at *1 (E.D. Cal. 2014) (bifurcating
22   discovery “to permit the parties to initially conduct discovery limited to class certification
23   issues and then, after a class had been certified, to conduct discovery regarding the merits of
24   Plaintiffs’ claim”).
25           In deciding whether to stay class discovery until after individual discovery has been
26   completed, “[a]mong the matters the court may consider . . . are: (1) the overlap between
27   individual and class discovery, (2) whether bifurcation will promote Federal Rule of Civil
28   Procedure 23’s requirement that certification be decided at ‘an early practicable time,’ (3)
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1    judicial economy, and (4) any prejudice reasonably likely to flow from the grant or denial of
2    a stay of class discovery.” True Health Chiropractic Inc. v. McKesson Corp., 2015 WL
3    273188, at *1 (N.D. Cal. 2015).
4            Here, if discovery is bifurcated, the Court will undoubtedly be in a better position to
5    make an early determination on the propriety of class certification as required by Federal
6    Rule of Civil Procedure Rule 23. See Washington v. Brown & Williamson Tobacco Corp.,
7    959 F.2d 1566, 1570–71 (11th Cir. 1992) (noting that courts may allow class discovery and
8    postpone merits discovery “[t]o make early class determination practicable”). Additionally,
9    “proceeding with merits discovery, which may well involve the review of millions of
10   documents not directly relevant to the issues of class certification, [. . .] would frustrate the
11   court’s effort to certify the action as a class action at an early practicable time, as is mandated
12   by Rules.” Harris v. comScore, Inc., 2012 WL 686709, at *3 (N.D. Ill. 2012) (citation and
13   internal quotations omitted). Similarly, economy favors bifurcation of merits and certification
14   discovery where “the limited statutory damages available to [a plaintiff] are likely an
15   insufficient motivation to litigate in the absence of class certification.” Id. If the Court denies
16   class certification, Plaintiff would have little incentive to continue with the pending litigation
17   given the limited statutory damages available under the TCPA. Finally, class merits and class
18   certification discovery can be severed from one another without posing an undue burden on
19   the parties or this Court.
20           To be clear, certification discovery would include all evidence necessary for Plaintiff
21   to prove the requirements of Rule 23 can be shown. But it would not include evidence related
22   to the merits of individual class members. Thus, for instance, Plaintiff could inquire regarding
23   loanDepot’s call practices and policies. However, he would not be permitted to obtain a list
24   of all individuals who may have received a call from loanDepot under the circumstances
25   specified in the Complaint. Similarly, he might inquire regarding how loanDepot verifies
26   customer phone numbers, but he would not be permitted to obtain the confidential names and
27   phone numbers of class members pre-certification. This is so because these individuals are
28   not yet parties to the case prior to certification. If the case is certified—and all parties know
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1    exactly what the contours of the final class definition might be—the confidential records of
2    individual class members might be safely identified produced and analyzed ahead of trial.
3             In sum, good cause exists to phase class certification and class merits discovery (if the
4    class is certified), as doing so will compel Plaintiff to swiftly seek certification as Rule 23
5    contemplates, and limit discovery to issues pertinent to the certification effort—reserving
6    class merits discovery until a class is certified.
7    IV.      CONCLUSION
8             For the foregoing reasons, loanDepot respectfully requests that the Court enter an
9    order phasing discovery in this matter pursuant to Federal Rules of Civil Procedure 26 and
10   42(b).
11    DATED: December 23, 2022                      McGLINCHEY STAFFORD
12
13                                                  By: /s/ Brian A. Paino
                                                        BRIAN A. PAINO
14                                                  Attorneys for Defendant loanDepot.com, LLC

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                                                      7                        Case No. 2:22-cv-01674-GMS
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                                        PROOF OF SERVICE
 1

 2
     STATE OF CALIFORNIA )
 3                                      )       ss.
     COUNTY OF ORANGE                   )
 4
     I, Kayla Han, declare:
 5
     I am employed in the County of Orange, State of California. I am over the age of 18 and not a
 6   party to the within action. My business address is 18201 Von Karman Ave., Suite 350, Irvine,
     California 92612.
 7
     On December 23, 2022, I served the document(s) described as: DEFENDANT
 8   LOANDEPOT.COM, LLC’S NOTICE OF MOTION AND MOTION TO
 9   BIFURCATE DISCOVERY; MEMORANDUM OF POINTS AND AUTHORITIES as
     follows:
10
                   BY MAIL: As follows:
11
                   FEDERAL – I deposited such envelope in the U.S. mail at Irvine, California,
12           with postage thereon fully prepaid.
13           BY OVERNIGHT COURIER SERVICE as follows: I caused such envelope to be
             delivered by overnight courier service to the offices of the addressee. The envelope
14           was deposited in or with a facility regularly maintained by the overnight courier
             service with delivery fees paid or provided for.
15

16           BY CM/ECF NOTICE OF ELECTRONIC FILING: I caused said document(s) to
             be served by means of this Court’s Electronic transmission of the Notice of Electronic
17           Filing through the Court’s transmission facilities, to the parties and/or counsel who are
             registered CM/ECF users set forth in the service list obtained from this Court.
18           Pursuant to Electronic Filing Court Order, I hereby certify that the above documents(s)
             was uploaded to the website and will be posted on the website by the close of the next
19           business day and the webmaster will give e-mail notification to all parties.
20           FEDERAL: I declare that I am employed in the office of a member of the State Bar
             of this Court at whose direction the service was made.
21

22
     Executed on December 23, 2022, at Irvine, California.
23

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25                                                          Kayla Han
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                                            PROOF OF SERVICE
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         Case 2:22-cv-01674-GMS Document 14 Filed 12/23/22 Page 11 of 11



                                       SERVICE LIST
 1                   Arizona District Court Case No. 2:22-cv-01674-GMS
                         JONATHAN SMITH v. LOANDEPOT INC.
 2
                                      File # 109043.0004
 3
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